Case 2:19-cv-02064-JMA-AYS Document 19 Filed 06/17/19 Page 1 of 4 PageID #: 228



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 JOHN DOE,

                                Plaintiff,

                        -against-                             STIPULATION OF DISMISSAL
                                                               WITHOUT PREJUDICE AND
 HOFSTRA UNIVERSITY; BOARD OF TRUSTEES                            TO AMEND CAPTION
 OF HOFSTRA UNIVERSITY; LYNDA O’MALLEY,
 individually and as agent for Hofstra University;               Case No. 2:19-cv-02064
 ROBERT K. MCDONALD, individually and as agent                        (JMA) (GRB)
 for Hofstra University; ALLISON G. VERNACE,
 individually and as agent for Hofstra University; and
 HEATHER A. DEPIERRO, individually and as agent
 for Hofstra University,

                                Defendants.



           WHEREAS, this action was commenced on or about April 9, 2019; and

           WHEREAS, Plaintiff named the “Board of Trustees of Hofstra University” as a

 defendant;

           WHEREAS, the “Board of Trustees of Hofstra University” is not a separate legal

 entity;

           IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,

 the attorneys of record for all the parties, as follows:

           1.    The named defendant Board of Trustees of Hofstra University is hereby

 dismissed from the action, without prejudice and without costs or fees to either party as

 against the other.

           2.    The caption for this action is hereby amended to reflect the dismissal of

 the Board of Trustees of Hofstra University as follows:



                                                                                       3361752.1
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 JOHN DOE,

                                Plaintiff,
                                                               Case No. 2:19-cv-02064
                      -against-                                     (JMA) (GRB)

 HOFSTRA UNIVERSITY; LYNDA O’MALLEY,
 individually and as agent for Hofstra University;
 ROBERT K. MCDONALD, individually and as agent
 for Hofstra University; ALLISON G. VERNACE,
 individually and as agent for Hofstra University; and
 HEATHER A. DEPIERRO, individually and as agent
 for Hofstra University,

                                Defendants.



        3.     Electronic and/or PDF signatures shall be deemed originals for the

 purpose of filing this Stipulation with the Court.



 Dated:June 14, 2019


 NESENOFF & MILTENBERG, LLP                      BOND, SCHOENECK & KING, PLLC

 By: s/Adrienne Levy                             By: s/Laura H. Harshbarger
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 SO ORDERED:



 Hon. Joan M. Azrack
 United States District Court Judge




                                                                        3361752.1
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                                 CERTIFICATE OF SERVICE


        I hereby certify that on June 17, 2019, the foregoing Stipulation of Dismissal

 Without Prejudice was electronically filed with the Clerk of the United States District

 Court for the Eastern District of New York, using the CM/ECF system, which sent

 notification of such filing to the following:

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                                                   s/ Laura H. Harshbarger
                                                         Laura H. Harshbarger




                                                                                      3361752.1
